Case 3:18-cv-04865-EMC Document 562-7 Filed 01/12/23 Page 1 of 3




                     EXHIBIT 6
       Case 3:18-cv-04865-EMC Document 562-7 Filed 01/12/23 Page 2 of 3




January 6, 2023

VIA EMAIL

Christine M. Morgan
Reed Smith LLP
101 Second Street Suite 1800
San Francisco, California 94105

In re Tesla Inc. Securities Litigation, No. 18-cv-04865-EMC (N.D. Cal.)

Dear Ms. Morgan:

We represent Non-Party the Public Investment Fund of the Kingdom of Saudi Arabia (the “PIF”).
PIF is organized under the laws of the KSA and is established in Riyadh. PIF writes to invoke its
immunity and does not waive it.

We understand that on or about December 19, 2022, your firm, on behalf of the defendants in the
above-captioned matter, attempted to serve Rule 45 subpoenas (the “Subpoenas”) on four officers
of the PIF (domiciled in KSA). The Subpoenas were left with an office administrator of PIF’s
subsidiary, USSA International (“USSA”), a Delaware corporation with its principal place of
business in New York. The Subpoenas purport to require these PIF officials (who are not in the
US) to appear and testify at a trial commencing on January 17, 2023 at the federal courthouse in
San Francisco. These subpoenas are deficient and unenforceable, for many reasons.

In sending this letter and/or discussing this proceeding and the Subpoenas with you, the PIF does
not waive—and expressly preserves—any and all applicable immunities, defenses, rights, and
privileges.

As you are no doubt aware, the PIF is an organ and integral part of the Kingdom of Saudi Arabia.
As such, the PIF is an “agency or instrumentality” of a foreign state within the meaning of the
Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1603(b), and is therefore presumptively
“immune from the jurisdiction of the courts of the United States” unless an exception to immunity
applies. 28 U.S.C. § 1604. Defendants make no effort to establish that any exception to sovereign
immunity applies to the Subpoenas, nor could they. See 28 U.S.C. § 1605(a). Additionally, service
of process on the PIF must comply with the specific methods of service prescribed in the FSIA,
28 U.S.C. § 1608(b). See Fed. R. Civ. P. 4(j)(1). It does not appear that the defendants made any
attempt at such service.

Separately, the subpoenas are also facially deficient and improperly served under the Federal Rules
of Civil Procedure, again for several reasons. None of the Subpoenas was personally served. All
        Case 3:18-cv-04865-EMC Document 562-7 Filed 01/12/23 Page 3 of 3
Christine M. Morgan
January 6, 2023




four were, impermissibly, dropped off at the offices of a corporate entity. That corporate entity is
not even the PIF, as the face of the Subpoenas makes clear, but a separate subsidiary. And that
subsidiary is in New York, nearly 3,000 miles away from the courthouse.

Please confirm by 12:00 PM Pacific Time on Monday, January 9, 2023 that defendants will
withdraw these deficient Subpoenas. We will otherwise promptly seek the intervention of the
Court to quash them.

The PIF expressly reserves all rights, remedies, and immunities, in connection with the Subpoenas
and otherwise.

Very truly yours,



Carolyn B. Lamm




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